






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00022-CV






Maria Fernandez, Jose Manuel Ibarra, and Robert Joseph Kunst, Appellants


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 340TH JUDICIAL DISTRICT

NO. C-08-0264-CPS, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N


		Appellants Maria Fernandez, Jose Manuel Ibarra, and Robert Joseph Kunst filed this
accelerated appeal from the district court's final order terminating Fernandez's parental rights to her
minor children, J.A.I., M.A.I., K.L.I., B.B.F., and C.I.F.; terminating Ibarra's parental rights to his
minor children, J.A.I. and K.L.I.; and terminating Kunst's parental rights to his minor child, B.B.F. 
Appellants' court-appointed attorney filed briefs concluding that the appeals of Fernandez, Ibarra,
and Kunst are frivolous and without merit.  The briefs meet the requirements of Anders v. California,
386 U.S. 738 (1967) by presenting a professional evaluation of the record and demonstrating why
there are no arguable grounds to be advanced on appeal.  See also Taylor v. Texas Dep't of
Protective &amp; Regulatory Servs., 160 S.W.3d 641, 646-47 (Tex. App.--Austin 2005, pet. denied)
(applying Anders procedure in appeal from termination of parental rights).  Counsel has certified to
this Court that she provided Fernandez, Ibarra, and Kunst a copy of the Anders brief addressing each
appellant's respective grounds for appeal and a notice advising appellants of their right to examine
the appellate record and file pro se briefs.  No pro se briefs have been filed.

		We have reviewed the record and counsel's briefs and have found nothing that would
arguably support an appeal.  We agree that the appeal is frivolous and without merit.  Finding
nothing in the record that might arguably support an appeal, we grant counsel's motion to withdraw
and affirm the order of termination.


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Affirmed

Filed:   July 8, 2011


